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                                                                                 YELLOW Corporation
                                                                                  US Cash Schematic
                                                                                                                                                                  JPMorgan Chase Bank N.A.
          PNC Bank                              PNC Bank                              Bank Of America                     JPMorgan Chase Bank N.A.
                                                                                                                                                                      9583, 9567, 3310,
             7094                                  2947                                      2291                                   2835
                                                                                                                                                                             1713
  ABL Receivables Accounts               PNC Concentration Account              USA Concentration Collection               USA Equipment Proceeds
                                                                                                                                                                   ABL Receivables Accounts
Receivables / Lockbox Account              Concentration Account                Receivables / Lockbox Account                     Accounts
                                                                                                                                                                     Receivable Accounts




       BNY Mellon                               JPMorgan Chase Bank N.A.                               BNY Mellon
           6663                                           0830                                          6671, 6698
 USA BNY Mellon Operating                       USA Concentration Account                       USA Equipment Proceeds
    Operating Account                             Concentration Account                      Receivables / Equipment Account
                                                                                                                                                                  JPMorgan Chase Bank N.A.
                                                                                                                                                                             7613
                                                                                                                                                                   YRC Freight Disbursement
                                                                                                                                                                    Concentration Account



                               Citizens Bank N.A                          US Bank N.A.
                                   8727, 8638                                 5676                                                                                JPMorgan Chase Bank N.A.
                            USA Investment Account                     USA Payroll Accounts                                                                              5497, 2227
                            Money Market Account                  Disbursement / Payroll Account                                                                   ABL Receivables Accounts
                                                                                                                                                                     Receivable Accounts


                                                                                         JPMorgan Chase Bank N.A.                     Secondary Accounts
     Citizens Bank N.A                                Citizens Bank N.A
                                                                                                   4193                        Wells Fargo 6130, 9838; PNC 0640
         9308, 8700                                          8719
                                                                                             USA Disbursement                     UMB 1046; JPM Unknown
 ABL Cash Collateral Account                   Citizen Concentration Account
                                                                                           Concentration Account                    BNY Mellon 8400, 8400



                                                     Citizens Bank N.A                   JPMorgan Chase Bank N.A.
                                                         8689, 8417                     4201, 4250, 4599, 4623, 4268           Legend
                                                   USA Liability Accounts                   USA O&M Accounts
                                              Disbursement / Payable Account                Operating Account                                     Citizens         Bank Of           Zero
                                                                                                                                BNY Mellon
                                                                                                                                                 Bank N.A          America          Balance

                                                                                                                                Secondary         US Bank          3rd Party         Manual
                                                                                         JPMorgan Chase Bank N.A.                Accounts          N.A.           Receivables        Transfer
                                                                                                   4219
                                                                                          USA Government Account                 JPMorgan                          3rd Party         ZBA in
                                                                                                                                                 PNC Bank
                                                                                           Governmental Accounts                Chase Bank                           Disb.           place
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                                                                  YELLOW Corporation
                                                                 Canada Cash Schematic



   JPMorgan Chase Bank CA               JPMorgan Chase Bank CA                   JPMorgan Chase Bank CA                          JPMorgan Chase Bank CA
         1101 (CAD)                            8704 (CAD)                              1210 (USD)                                       8705 (USD)
  Canada Collection Accounts          YRC Freight Canada Lockboxes              Canada Collection Accounts                     YRC Freight Canada Lockboxes
     Receivables Account                    Lockbox Account                        Receivables Account                               Lockbox Account




      Bank of Nova Scotia                Bank of Nova Scotia
          4510 (CAD)                          3512 (CAD)                        JPMorgan Chase Bank N.A.                          Bank of Nova Scotia
  YRCF Canada Concentration           YRCF Canada O&M Accounts                            0830                                         8114 (USD)
Receivables / Operating Account         Disbursement Account                    USA Concentration Account                      YRCF Canada O&M Accounts
                                                                                  Concentration Account                          Disbursement Account



                                          Bank of Nova Scotia
                                                                                                                                      Wells Fargo
                                              2910 (CAD)
                                                                                                                                          3456
                                         Canada Payroll Account
                                                                                                                                Canada Brokerage Account
                                     Disbursement / Payroll Account


                                         Bank of Nova Scotia
                                                7914
                                      YRCF Canada O&M Accounts
                                        Disbursement Account



      Bank of Nova Scotia                 Bank of Nova Scotia
          5214 (CAD)                          5311 (CAD)
 Yellow Canada Disbursement              Canada Payroll Account                                Legend
    Disbursement Account             Disbursement / Payroll Account
                                                                                                  JPMorgan        Bank of          3rd Party
                                                                                                 Chase Canada    Nova Scotia      Receivables       Manual
                                                                                                                                                    Transfer

    Canada O&M Accounts                                                                            JPMorgan                         3rd Party
                                                                                                                 Wells Fargo                         ZBA in
         BNS – 5117                                                                              Chase Bank US                        Disb.          place
          TD – 0714
       O&M Accounts                                                                                 O&M            Zero             3rd Party
                                                                                                   Accounts       Balance             Disb.
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                                  YELLOW Corporation
                            Non-Debtor Affiliate Cash Schematic



                                           [NDE] Bancomer
                                                 5883
                                        Mexico Bank Accounts
                                    Receivables / Property Account



  [NDE] JPMorgan Netherlands             [NDE] Bancomer                   [NDE] Bank of Bermuda
          6641, 6633                           0138                                -501
 Reimer Holdings Bank Accounts         Mexico Bank Accounts                 OPK Bank Accounts
        Payable Account                Concentration Account         Disbursement / Insurance Account



                                          [NDE] Bancomer
                                         9423, 9991, 0708
                                        Mexico Bank Accounts
                                         Operating Account




                                                                         Legend
                                                                                             3rd Party
                                                                           Bancomer
                                                                                            Receivables   Manual
                                                                                                          Transfer

                                                                            Bank of            Zero        ZBA in
                                                                           Bermuda            Balance      place

                                                                          JPMorgan            3rd Party   [NDE] = Non Debtor
                                                                          Netherland            Disb.     Entity
